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                           IN THE DISTRICT COURT OF THE UNITED STATES
                             FOR THE MIDDLE DISTRICT OF ALABAMA
                                       NORTHERN DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

                      v.                                MISC NO.3:18-mc-38Q-ECA1

Surge Staffing,
Phenix City, AL,

                              Garnishee,

MAGALITA, GELIN,

                             Defendant.


                                           WRIT OF GARNISHMENT

GREETINGS TO:                Surge Staffing
                             2018 US-280
                             Phenix City, AL 36867

        An Application for a Writ of Gamishment against the property of MAGALITA GELIN,

defendant, has been filed with this Court. A Judgment has been entered against the above-named

defendant in the amount of$56,608.00, plus costs and interest. The balance due on the Judgment

as of November 14, 2018 is $46,461.03, with interest accruing at the rate of0 percent per annum

until paid in full.

        You are required by law to answer in writing, under oath, within ten (10) days, whether or

not you have in your custody, control or possession ofany property owned by the debtor,including

non-exempt, disposal eamings.

        Please state whether or not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly or monthly.
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        You must file the original written Answer to this Writ within ten (10) days of your

receipt of this Writ with the United States District Clerk at: Clerk, U. S. District Court,

Middle District of Alabama,One Church Street, Suite B-110, Montgomery,Alabama 36104.

Additionally, you are required by law to serve a copy of your Answer upon the debtor at:

52 Lee Road #443, Phenix City, Alabama,36870 and upon the United States Attorney, Post

Office Box 197, Montgomery, Alabama 36101.

        Under the law, there is property, which is exempt from this Writ of Garnishment.

Property which is exempt and which is not subject to this Order is listed on the attached Debt

Collection Notice.

        Pursuant to Title 15 U.S.C. §1674, a Garnishee is prohibited from discharging a defendant

from employment by reason of the fact that his earnings have been subject to garnishment.

        If you fail to answer this Writ or to withhold property in accordance with this Writ, the

United States of America may petition the Court for an Order requiring you to appear before the

Court. If you fail to appear or do appear and fail to show good cause why you failed to comply

with this Writ, the Court may enter a Judgment against you for the value of the debtor's

non-exempt property. It is unlawful to pay or deliver to the defendant any item attached by this

Writ.

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                                             UNITED STATES DISTRICT CLERK

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